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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

                                             CASE NO.

  RENZO BARBERI ,

                 Plaintiff,

                 vs.

  WILKAR CAPITAL, INC., a Florida Profit
  Corporation, d/b/a MERCEDESHOP INC.
  and GROUP FORCE NORTHLAKE, LLC,
  a Florida Limited Liability Company,

                 Defen dant s.
  _ __ __ __ ___ __ __ __ ___ __ __ ___ __ __ _ /

                                           COM PLAINT

  Pla intiff RENZO B ARBERI (h erei naft er “Plainti ff”), throu g h the u nd ersi gn ed
  cou n sel, h ereb y fil es t hi s co mplaint an d su es WILKAR CAPITAL, INC., d/b/a
  MERCEDESHOP INC. (“ WILKAR” ), and GROUP FORCE NORTHLAKE, LLC, (“ GFN” )
  (herei na ft er, coll ect iv ely r eferr ed t o a s “Defendant s”), for declaratory an d
  inju nctiv e reli ef; for discri minatio n based on di sabilit y; and for the r esu ltant
  a ttorney 's fees, exp en ses, and co st s (i nclu di ng, bu t n ot li mit ed t o, cou rt co st s
  a nd e xp ert fees), pu rsu ant to 4 2 U.S.C. § 1 2 1 81 et. seq., (" AMERICANS WIT H
  DISABILIT IES ACT OF 1 9 90 ," or " ADA") and all eg es:


  J URISDICTION
  1.     T his Cou rt is vested with origi nal ju risdict ion ov er thi s acti on pu rsu ant to
  2 8 U.S.C. § 13 31 and § 1 34 3 for Plaintiff’ s claims arisi ng u nd er T itle 42 U.S.C.
  § 12 18 1 et. seq., ba sed o n D efen dant s’ vi olation s o f T itle III of th e American s
  with Di sa bilities Act o f 1 9 9 0 , (hereina fter referred t o as the "AD A"). S ee also
  2 8 U.S.C. § 2 20 1 and §2 20 2 .


  VENUE

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  2.       T he venu e o f all event s gi vin g rise to t hi s lawsu it is l ocat ed in MI AMI -
  DADE C ou nty, Flori da. Pu rsu ant t o 2 8 U. S.C. § 1 3 91 (B) and ru le 3 .1 of Lo cal
  Ru les o f th e Unit ed S tates Di strict Cou rt for t he Sou ther n D istrict o f Flori da,
  this i s t he desi gnated cou rt f or thi s su it.


  PARTIES
  3.      Pla intiff, R ENZO BARB ERI , is a resi dent o f th e State o f Fl orida. At t he
  time o f Plain tiff’ s vi sit to Mercedeshop Inc. (“Subject Facility”), Plaintiff su ffer ed
  fro m a “qu alifi ed disab ility” u nd er th e AD A, an d requ ired t he u se o f a
  wh eel cha ir for mobilit y. Sp eci fi cally, Plainti ff su ffer s fro m p araplegia du e to a
  se ver ed T 4 and T 5 , and is therefore con fi ned to hi s wh eelch air. T he Plaintiff
  per so na lly vi sited Mercedeshop Inc., bu t was denied fu ll and equ al access, an d fu ll
  a nd equ a l enj oy ment o f t he faciliti es, servi ces, go od s, and ameniti es wit hin
  Mercedeshop Inc., which i s th e su bject o f thi s la wsu it. T he Su bj ect Facilit y i s a car
  dea ler a n d Plainti ff wanted to look for a car for sale , bu t wa s u nable to du e to
  the discri minatory barr ier s enu merated in Paragraph 1 5 of t his Complaint.


  4.      In th e alternativ e, Plainti ff, RENZO B ARBERI , i s an ad vo cate o f th e
  right s o f similarly situ ated di sabled p erson s an d is a “test er” for the pu rpo se o f
  a sserting hi s ci vil right s and monitori ng, en su ring an d d et ermi nin g whet her
  pla ce s o f pu blic accommodatio n are in co mp liance with t he AD A.


  5.      Defen dant s, WILKAR and GFN are au thorized to con du ct bu si n ess and are
  in fa ct co ndu cti ng bu si ness wit hin th e Stat e of Fl orida. T he S u bject Facilit y i s
  loca te d a t 16058 N.E. 21st Ave., Miami, FL 33162. Upo n in for mation and beli ef,
  WILKAR is th e l essee and/ or op e rator o f t he Real Pro perty and t her efor e h eld
  a ccou nta bl e o f t he violatio n s o f t he AD A in th e Su bj ect Facility whi ch i s t he
  ma tter o f thi s su it. Upon i nfor mation and b elief, GFN is th e o wn er and lessor o f
  the Rea l Pr op erty wh ere th e Su bj ect Facil ity i s loc at ed an d ther efor e hel d
  a ccou nta bl e for th e violatio ns o f th e ADA i n th e Su bj ect Facility whi ch i s th e
  ma tter o f t hi s su it.

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  CLAIM S: VIOLATIONS OF THE AM ERICANS WITH DIS ABILITIES ACT
  6.     Pla intiff ado pt s and re -alleges th e allegatio ns stated in pa ragraphs 1
  throu gh 5 o f t his complaint, as are fu rther explain ed h erein .


  7.     On Ju ly 2 6 , 1 99 0 , Congress enact ed t he American s w ith Di sabilities Act
  ("AD A"), 4 2 U.S .C. § 1 21 01 et. seq. C ommercial enter prises wer e pr ovi ded o ne
  a nd a ha lf y ears fro m enact ment o f th e sta tu te to implement its r equ irement s.
  T he e ffecti ve date o f T itle III o f t he ADA was Janu ary 2 6 , 1 99 2 , or Janu ary 2 6 ,
  1 99 3 if Defen dant s had t en (1 0 ) or fewer empl oy ees an d gro ss r eceip ts o f
  $ 50 0 ,0 00 or less. S ee 4 2 U.S.C. § 1 2 18 1 ; 2 8 C.F.R. § 36 .50 8(a).


  8.     As stated i n 4 2 U.S.C. § 1 2 10 1(a) (1 )-(3 ), (5 ) and (9 ), Con g ress fou nd,
  a mon g ot her t hin gs, that:

         i. so me 4 3 ,0 00 ,00 0 American s hav e on e or mor e p hy sical or mental
           disabilit y, an d thi s nu mb er shall i ncr ease as t h e p opu lation co ntinu es to
           gro w and ag e;

         ii. hi stori cally, so ci ety has tend ed to i solate an d segregate indivi du als
           with di sabilities and , d espite so me impro vement s, su ch for ms o f
           discrimi nation again st di sabl ed in divi du als co ntinu e to be a perva siv e
           so cial pro blem, r equ iring seriou s att enti on;

         iii. di scri minati on again st di sabled i ndi vidu als per si sts in su ch criti cal
           a reas as emplo y ment, hou sing , pu blic acco mmo dation s, transporta tion,
           co mmu ni cation , recreatio n, i nstitu tio nalizatio n, h ealth ser vices, v oting
           a nd access t o pu bli c ser vices and pu blic fac i lities;

         iv.    in divi du als   with     di sabilities     co ntinu ally     su ffer    forms  of
           discrimi nation ,     in clu ding:     ou tright     i ntentio nal     ex clu sion; th e
           discrimi natory       effects      of     archit ectu ral,      transp ortation,    an d
           co mmu ni cation barriers; failu re to mak e mo di ficati on s to exi stin g
           fa ciliti es and practices; exclu sio nary qu alifi cation stan d ards and
           criteria; segregation , and regu lation to l esser servi ces, programs,
           ben efit s, or oth er o pp ortu nities; and ,

         v. the co ntinu in g ex ist en ce o f u nfair and u nn ecessary discri mination and
           preju dice d eni es peopl e wit h di sabiliti es t he o pp ortu nity to compet e o n
           a n equ al ba sis and to pu rsu e tho se opp ortu nities for whi ch thi s cou ntry
           is ju sti fiabl y famou s, an d co st s th e Uni ted Stat es billi on s o f dolla rs in

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              u nnecessary exp en ses r esu ltin g fro m d ep en dency and no n -pro d u ctivity.

  9.      As stated in 4 2 U.S.C. § 1 2 10 1 (b)(1 )(2) and (4 ), Congress expli citly stated
  tha t the pu rpo se o f th e AD A wa s to:

          i. pro vid e a clear an d co mpr eh en si ve natio nal man date for th e elimi natio n
            of di scri minatio n again st in divi du als with disabil ities;

          ii. pro vid e clear, stro ng, con si stent, en for ceabl e stan dards addressin g
            discrimi nation against indi vidu als wit h di sabiliti es; and,

          iii. inv ok e th e sweep o f con g ressio nal au thority, in clu din g th e p ower to
            en for ce th e fou rteenth a mend ment an d t o r egu late co mmer ce, i n or der to
            a ddress th e major ar eas o f discri minatio n faced on a daily basi s b y
            peo pl e wi th disabilit ies.

  10.     Pu rsu ant to 4 2 U. S.C. § 1 2 18 1 (7 ), and 2 8 CF R § 3 6 .1 04 , Title III, no
  indivi du a l may be di scri mi nated again st on th e basi s o f di sab ility wit h regard s
  to    the    fu ll   and   equ al     enjoy ment     of t he     goo d s,   servi ces,   faciliti es,   or
  a cco m modati on s o f an y pla ce o f pu blic acco mmo dation by any p er son wh o
  owns, leases (or l eases to), or op erates a p lace of pu blic acco mmodatio n.
  Mercedeshop Inc. i s a place o f pu bli c acco mmodatio n b y t he fact it i s an
  esta bli shment t hat pro vid es go od s/ servi ces t o th e g en eral pu blic, and th er efore,
  mu st c omply wit h the AD A. T he Su bject Facilit y is op en t o the pu blic, it s
  opera tio n s affect co mmer ce, and it is a sales establish ment . S ee 4 2 U.S.C. Sec.
  1 21 81 (7 ) and 2 8 C.F.R. 3 6 .10 4 . T herefor e, th e Su bj ect Fa cility i s a pu blic
  a cco m moda ti on t hat mu st co mpl y with th e ADA.


  11.     T he Defendant s hav e di scrimi nated , and co ntinu e t o di scrimi nate again st
  the Pla inti ff, and oth ers wh o are si milarly situ ated, by d en yi ng access t o, and
  fu ll a nd equ al enjo ymen t o f go od s, servi ces, facil ities, privi leg es, advantag es
  a nd/or a c co mmo dation s at Mercedeshop Inc. lo cated at 16058 N.E. 21st Ave., Miami, FL
  33162, a s prohibit ed b y 4 2 U.S.C. § 1 21 82 , and 42 U.S.C. § 12 101 et. seq .; and by
  fa iling      to     r emov e       architectu ral       barrier s   pu rsu ant     to    42     U.S.C.
  § 12 18 2 (b)(2 )(A)(iv).



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  12.    Pla intiff has vi sited t he Su bject Facility, an d has been denied fu ll, sa fe,
  a nd e qu a l access to t he facili ty an d th erefor e su ffered an inju ry in fact.


  13.    Pla intiff shall su ffer a fu tu re inju ry as Plaintiff int en ds t o retu rn and
  enjo y th e go od s and/ or servi ces at the Su bj ect Fa cility wit hin th e n ext six
  mo nth s. T he Su bj ect Facili ty i s in cl ose pr oxi mity t o Plainti ff’ s resid en ce an d is
  in a n a rea fr equ en tly trav ell ed by Plainti ff. Fu rther mor e, P laintiff will also
  retu rn to m onit or complian ce wit h t he AD A. Ho wever, Plai ntiff is pr eclu d ed
  fro m doi ng so by th e Defen da nts' failu re and r efu sal to pr o vide p eo ple with
  disa biliti es wit h fu ll and equ al access t o t heir fa cility. T herefor e, Plainti ff
  cont inu e s to su ffer fro m discri minatio n and i nju ry du e t o the architectu ral
  ba rriers, wh ich are in violatio n o f t he AD A.


  14.    Pu rsu ant to th e mandat es o f 4 2 U.S .C. § 1 2 1 34 (a), on Ju ly 2 6 , 1 9 91 , the
  Depa rtm ent o f Ju stice, O ffice o f t he Att orn ey G en eral, pro mu lgated Federal
  Regu la tion s to i mpl ement th e requ irement s of t he AD A. T he ADA Accessibilit y
  gu idelin e s (h er einaft er r eferr ed t o a s “AD AAG”), 2 8 C.F.R. P art 3 6 , may cau se
  viola tor s t o obtain ci vil penalties o f u p to $ 5 5 ,0 00 for th e first violatio n an d
  $ 11 0 ,0 00 for any su b sequ ent violatio n.


  15.    T he Defendant s are i n vi olation o f 4 2 U.S.C. § 1 21 81 et. seq., an d 2 8

  C.F.R. 3 6 .30 2 et. seq., and are di scrimi nating again st th e Plaintiff with t he

  foll o win g sp eci fi c violatio n s whi ch Plainti ff p ersonally encou ntered an d/or has

  k nowl ed ge o f:

             a) The parking facility in front of the auto repair shop does not provide a compliant

                 accessible parking space. 2010 ADA Standards 502.1

             b) The parking facility does not have the minimum number of accessible parking

                 spaces required. 2010 ADA Standards 208.2



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           c) At time of inspection, in front of business there were several parking spaces

              occupied with customer cars and zero (0) accessible parking spaces. One (1)

              accessible parking space with adjacent access aisle is required. 2010 ADA

              Standards 208.2

           d) Where a total of four or fewer parking spaces, including accessible parking

              spaces, are provided on a site, identification of accessible parking spaces are not

              required by DOJ regulations. All other accessible routes and elements at the

              facility must be compliant. 2010 ADA Standards 216.5

           e) The parking facility does not provide compliant directional and informational

              signage to a compliant accessible parking space. 2010 ADA Standards 216.5

           f) There is no compliant access aisle attached to an accessible route serving any

              existing parking space which would allow safe entrance or exit of vehicle for

              accessible persons requiring mobility devices. 2010 ADA Standards 502.2

           g) There is currently no existing accessible route to help persons with disabilities

              safely maneuver through the parking facilities. Accessible routes must connect

              parking spaces to accessible entrances. In parking facilities where the accessible

              route must cross vehicular traffic lanes, marked crossings enhance pedestrian

              safety, particularly for people using wheelchairs and other mobility aids. 2010

              ADA Standards 502.3

           h) Existing facility does not provide a compliant accessible route to the main office

              entrance from any site arrival point. 2010 ADA Standards 206.2, 208, 401.1




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            i) The main exterior entrance door is non-compliant. There is a vertical rise at the

                 threshold exceeding the maximum rise allowed. Changes in level of 1/4 inch high

                 maximum are permitted to be vertical. 2010 ADA Standards 302.2

            j) The overhead doors on the side of the building do not provide accessible access.

                 There is a vertical change in level (step) from the parking lot asphalt ground

                 surface up to the concrete ground surface of the shop creating a barrier for persons

                 with disabilities from safely entering the premises. 2010 ADA Standards 303.2

            k) The facility does not provide compliant directional and informational signage to

                 an accessible route which would lead to an accessible entrance. Where not all

                 entrances comply, compliant entrances must be identified by the International

                 Symbol of Accessibility. Directional signs that indicate the location of the nearest

                 compliant entrance must be provided at entrances that do not comply. 2010 ADA

                 Standards 216.6

  16.    Up on in formatio n and b eli ef t her e are oth er cu rrent violatio ns of t he AD A
  a t Mercedeshop Inc. O nly u pon fu ll in sp ection can all v iolati on s be id enti fi ed.
  Ac cor din gly, a co mplet e li st o f vi olation s wil l requ ire an on -site in sp ection b y
  Pla intiff’ s representativ es pu rsu ant to Ru le 3 4 b o f t he Feder al Ru les o f Ci vil
  Proc edu re.


  17.    Up on in formatio n an d beli ef, Plainti ff all eg es that remo val o f th e
  discrimi natory barriers an d vio lation s i s readily a chi evabl e and techni cally
  fea sibl e. T o date, th e readil y achievabl e barriers an d oth er violation s o f t he
  AD A still exi st and have not been remedi ed or altered i n su ch a way as t o
  effectu a te co mplian ce with t he pro visi on s of th e ADA.


  18.    Pu rsu ant to t he AD A, 4 2 U.S.C. § 1 21 01 et. seq. , and 2 8 C.F.R. § 3 6 .3 04 ,
  the D e fe ndant s wer e requ ired t o mak e th e establi sh ment a place o f pu bli c

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  a cco m modati on, accessi ble t o per so ns with di sabilities by Jan u ary 28 , 1 99 2 . As
  of t hi s da te th e Defendant s have fail ed t o comply wit h thi s man date.


  19.    T he Plainti ff ha s b een obli gated t o r etain th e u nd er sig ned cou nsel for th e
  filin g a nd pro secu tion of t h i s a ctio n. Plainti ff i s enti tled to h ave its r easo nable
  a ttorney 's fees, co st s an d exp en ses paid by th e Defen dant s, pu rsu ant to 4 2
  U.S.C. § 1 22 05 .


  20.    Pu rsu ant to 4 2 U.S.C. § 1 2 18 8 , this Cou rt is vest ed wit h th e au thority to
  gra nt Pla inti ff i nju ncti ve r elie f, i nclu di ng an order t o alter th e su bject facilities
  to ma k e th em read ily a ccessi ble and u seable b y i ndivi du als with di sabiliti es t o
  the ext ent requ ired by th e ADA, and clo sin g th e Su bject Facility u ntil th e
  requ isit e modi fi cation s are co mplet ed.


  REQUEST FOR RELIEF
  WHEREFORE, th e Plainti ff d emand s ju dg ment again st th e Defen dant s and
  requ e sts th e foll owi ng i nju ncti ve and declaratory reli ef:


  2 1 . T ha t this Ho norabl e C ou rt d eclares that t he Su bj ect Facilit y o wned, op erated
  a nd/or c ontr olled b y th e Defen dant s i s in violatio n o f t he AD A;


  22.    T hat this Ho norabl e Cou rt enter an Order requ irin g Defen dant s to alter t he
  Su bject Facilit y to mak e it accessibl e t o and u sable by indi vidu als with
  disa biliti es to t he fu ll ext ent r equ ired b y T itle III o f th e ADA;


  23.    T ha t this Hon orable C ou rt ent er an Order directin g th e Defendant s t o
  eva lu a te and n eu tralize th eir p olici es, practi ces and pro cedu res t o ward per son s
  with di sa biliti es, for su ch r easo nable ti me so as to allo w t he D efendant s t o
  u nderta k e and co mpl ete correct iv e pro cedu res to t he Su bject Fa cility;


  24.    T hat this H on orable Cou rt award reasonabl e attor ney 's fees, all co st s

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  (inclu din g, bu t not limit ed t o cou rt co st s and ex pert fees) and other exp en ses of
  su it, to t he Plainti ff; and


  25.    T hat this Honorabl e Cou rt awa rd su ch ot her an d fu rth er relief as it deems
  ne ce ssa ry, ju st an d pro per.

  Da ted thi s August 9, 2019.

  Respe ct fu lly su bmitt ed by:

  Ro na ld E. S tern
  Rona ld E. Ster n, E sq.
  Florida Bar No. 1 0 0 89
  T HE ADVOCACY LAW FIRM, P. A.
  1 25 0 Ea st Hallandale Beach Bou levard, Su ite 5 0 3
  Ha lla nda le Beach, Flori da 3 3 00 9
  T eleph on e: (9 54 ) 63 9 -70 16
  Fa csi mil e: (9 5 4 ) 6 39 -7 19 8
  Attor ne y for Plain tiff, RENZO BARB ERI




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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                                              CASE NO.

   RENZO BARBERI,

                  Plaintiff,

                  vs.

   WILKAR CAPITAL, INC., a Florida Profit
   Corporation, d/b/a MERCEDESHOP INC.
   and GROUP FORCE NORTHLAKE, LLC,
   a Florida Limited Liability Company,

                  Defen dant s.
   _ __ __ __ ___ __ __ __ ___ __ __ ___ __ __ _ /

                                 CERTIFICATE OF SERVICE

           I HEREBY CERT IFY that on August 9, 2019, I el ectr oni cally fil ed th e
   Com pla int alon g with a Su mmo ns for each Defendant wit h t h e Clerk o f Cou rt
   u sing CM/ECF . I al so certify t hat th e a for ementi on ed d ocu ment s are b ein g
   ser ve d on all cou nsel o f record, cor poration s, or pro se parties identi fi ed o n th e
   a tta ched Ser vice Li st i n th e mann er sp ecifi ed via S ervi ce of Pro cess by an
   a u thorized Pro cess Ser ver, an d t hat all fu tu re pleadi ng s, motio ns and do cu ment s
   will b e ser ved eith er via tran smi ssio n o f N otices o f El ectr oni c Filin g generat ed
   by C M/ECF or Via U.S. Ma il for th o se cou nsel or parties who are not au thorized
   to re cei ve el ectro nicall y Noti ces o f Electro nic Filin g.

   By: Ro n a ld E. S tern
   Rona ld E. Ster n, E sq.
   Florida Bar No.: 1 0 0 89
   T HE ADVOCACY LAW FIRM, P. A.
   1 25 0 Ea st Hallandale Beach Bou levard, Su ite 5 0 3
   Ha lla nda le Beach, Flori da 3 3 00 9
   T eleph on e: (9 54 ) 63 9 -70 16
   Fa csi mil e: (9 5 4 ) 6 39 -7 19 8
   Attor ne y for Plain tiff R ENZO BARB ERI




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                                     SERVICE LIST :

   RENZO BARBERI, P lainti ff, v s. WILKAR CAPITAL, INC., a Florida Profit Corporation,
    d/b/a MERCEDESHOP INC. and GROUP FORCE NORTHLAKE, LLC, a Florida Limited
                                   Liability Company

               Unit ed States District C ou rt Sou ther n Distri ct O f Fl orida

                                         CASE NO.


   WILKAR CAPITAL, INC., d/b/a MERCEDESHOP INC.

   REGISTERED AGENT:

   SAEZ, PEDRO P.
   777 BRICKELL AVENUE
   SUITE 1110
   MIAMI, FL 33131

   VIA PROCESS SER VER


   GROUP FORCE NORTHLAKE, LLC

   REGISTERED AGENT:

   LINKEWER, JORGE
   18205 BISCAYNE BLVD
   SUITE 2202
   AVENTURA, FL 33160

   VIA PROCESS SER VER




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